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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE: TESTOSTERONE                            MDL No. 2545
REPLACEMENT
THERAPY PRODUCTS LIABILITY                     Master Docket Case No. 1:14-cv-01748
LITIGATION
                                               Honorable Matthew F. Kennelly


DOMINICK PAPANDREA, et al.,                    Civil Action No.: 1:14-cv-08948

              Plaintiffs,

vs.

ABBVIE, INC., et al.,

              Defendants.


BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN OPINIONS
          OF CULLEY C. CARSON, III, M.D. UNDER FED. R. EVID. 702.

        Defendants have designated Culley C. Carson, M.D., a board-certified urologist,

to offer general and case-specific opinions concerning hypogonadism and AndroGel.

However, Dr. Carson’s opinions wander far beyond his qualifications in urology. For

example, Dr. Carson opines on the significance (or lack thereof) of various potential

cardiovascular risk factors, including AndroGel, that may have contributed to or caused

Mr. Papandrea’s myocardial infarction. Based on his own conclusion that AndroGel is

not a cardiovascular risk factor, Dr. Carson also opines that the pre-2015 AndroGel

labeling contained enough information for Mr. Papandrea’s prescribing physician to fully

weigh the risks and benefits of AndroGel before he prescribed it.




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       As decisions in this Circuit make clear, expert opinions that implicate a particular

field of medicine—here cardiology—must be left to experts in that area. Dr. Carson is a

urologist, not a cardiologist or a labeling expert and he is not otherwise qualified to offer

such opinions. Plaintiffs therefore respectfully ask the Court to limit Dr. Carson’s

testimony to his area of expertise: urology.

                                  I.     BACKGROUND

       A.     Dr. Carson’s Qualifications.

       Dr. Carson is a board-certified urologist. (Ex. 1, Carson General Report, at 1; Ex.

3, Carson Dep., May 14, 2018, at 18:9-11.) As a urologist, Dr. Carson’s practice is

primarily focused on men’s sexual health and the treatment of erectile dysfunction. (Ex.

3, at 59:22-24, 60:1-8.) Dr. Carson is neither a board-certified cardiologist nor an expert

in cardiology or cardiovascular disease. (Id. at 70: 3-10, 71:4-10.) He has never been

consulted concerning the cause of a patient’s myocardial infarction (id. at 71:15-18) and

defers to cardiologists on such issues because he is himself not capable of making such

a determination (id. at 84:5-14). Dr. Carson also defers to cardiologists to determine

whether it would be safe to prescribe AndroGel to a patient with known vascular

conditions or complications. (Id. at 394:12-18.) Similarly, Dr. Carson is not a regulatory

expert and has no experience in drafting warnings, precautions, or other sections

contained in the prescribing information that accompanies prescription drugs. (Id. at

335:9-17.)

       B.     Dr. Carson’s Opinions.

       Abbvie retained Dr. Carson to provide general opinions “concerning the

diagnosis and treatment of men with hypogonadism, and the clinical benefits and risks




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of TRT, including Androgel” (General Rep., at 4), as well as case-specific opinions

regarding whether Mr. Papandrea “was appropriately diagnosed and treated with

AndroGel 1.62%” (Ex. 2, Carson Case Specific Rep., at 1.)

      His reports go further, however, and include opinions addressing the significance

of various cardiovascular risk factors he claims played a role in causing Mr.

Papandrea’s myocardial infarction in 2012. He also opines about the adequacy of the

AndroGel labeling at the time Mr. Papandrea took it. For example, he holds the

following opinions based on a reasonable degree of medical and scientific certainty:

      AndroGel’s risk/benefit profile has always been positive and remains so
      today, for hypogonadal men. The positive risk/benefit profile is supported
      by numerous high-quality clinical and epidemiological studies. While a
      handful of studies reported a potential risk of CV events associated with
      TRT, those studies have been widely discredited (including by the FDA
      and many in the medical community). Importantly, more recent and more
      scientifically sound studies have failed to demonstrate any association (let
      alone a causal relationship), and, in fact, several suggest that TRT may be
      cardio-protective. (General Rep., at 4; see also Specific Report at 6.)

      Mr. Papandrea had many risk factors for cardiovascular disease including
      being overweight, advanced age, hypertension, hyperlipidemia, elevated
      glucose, history of tobacco use, and family history of coronary artery
      disease. (Specific Rep., at 5-6.)

      The AndroGel 1.62% label adequately disclosed sufficient information
      regarding risks, including potential increases in hematocrit levels and the
      possible side effects of clots, to enable Dr. Cascarina to determine
      whether to prescribe Mr. Papandrea with AndroGel. (Specific Rep., at 3-
      4.)

      Dr. Cascarina had the information necessary to determine whether the
      potential benefits of AndroGel would outweigh any potential risks to Mr.
      Papandrea given his medical history, symptoms and age. (Specific Rep.,
      at 3.)

Dr. Carson was deposed in this case on May 14, 2018. (See generally Ex. 3.)




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                                   II.    ARGUMENT

      To assess an expert’s qualifications under Fed. R. Evid. 702 and Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), courts compare “the area in

which the witness has superior knowledge, skill, experience, or education with the

subject matter of the witness's testimony.” Gayton v. McCoy, 593 F.3d 610, 616 (7th

Cir. 2010). An expert is not qualified merely because he is an expert in any particular

area: his area of expertise must correspond with his testimony. See id.

      “Simply because a doctor has a medical degree does not make him qualified to

opine on all medical subjects.” Id. at 617. In fact, a doctor who offers testimony outside

his area of expertise may not be qualified to do so. See, e.g., Hall v. Flannery, 840 F.3d

922, 925, 929-30 (7th Cir. 2016) (finding a pediatric neurologist unqualified to testify

about a “heart-related issue” as a cause of death); Higgins v. Koch Dev. Corp., 794

F.3d 697, 704-05 (finding a pulmonologist unqualified to offer causation testimony

requiring expertise in toxicology); Baldonado v. Wyeth, No. 04 C 4312, 2012 WL

1597384, at *5-6 (N.D. Ill. May 7, 2012) (holding a radiologist not qualified to offer

causation testimony regarding breast cancer).

      A.     Dr. Carson Is not Qualified to Offer Expert Opinions Regarding
             the Potential Causes of Myocardial Infarctions Generally or the
             Myocardial Infarction Suffered by Plaintiff Specifically.

      Dr. Carson’s reports confirm he intends to offer opinions beyond the scope of his

expertise in urology. While Dr. Carson is a medical doctor, Gayton, Hall, Higgins, and

Baldonado confirm that being a doctor alone does not qualify an expert to testify to

issues outside of his area of expertise. While Dr. Carson is a qualified urologist; he is

not qualified to testify as to the significance of cardiovascular risk factors or to the




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potential causes of Mr. Papandrea’s myocardial infarction. For the same reasons, he is

also not qualified to offer opinions about whether AndroGel can cause myocardial

infarctions. Such opinions require expertise in cardiology, which he does not have.

       Moreover, opinions regarding the significance of cardiovascular risk factors,

including AndroGel, go to the issue of causation. As Dr. Carson testified already, he will

not address causation at trial. (Ex 3, at 362:17-21.) That is because he has no

experience determining the cause of a myocardial infarction. In his practice, he defers to

cardiologists to perform such an analysis. That is what should happen here. 1

       Defendants may argue Dr. Carson is qualified to offer these opinions because he

discusses the risks and benefits set forth in the AndroGel labeling with his urology

patients. However, mere discussions with patients as to the possible risks and benefits

of AndroGel do not transform Dr. Carson into an expert qualified to testify about the

significance of cardiovascular risk factors or the causes of myocardial infarctions

       B.     Dr. Carson Is not Qualified To Offer Expert Opinions
              Regarding the Adequacy of the AndroGel Label at the Time of
              Plaintiff’s Myocardial Infarction.

       Dr. Carson should also be precluded from testifying that the 2012 AndroGel

label contained sufficient information for Dr. Cascarina and Mr. Papandrea to fully

weigh of the risks and benefits of AndroGel treatment. This opinion also impermissibly

encroaches on causation issues requiring expertise in cardiology and federal drug

labeling. This is particularly true because the sole foundation for this opinion is his




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  Notably, Defendants will not be prejudiced by the limitation of Dr. Carson’s opinions to
urology as these opinions are cumulative of opinions Dr. William White plans to offer at
trial on Defendants’ behalf.

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opinion that AndroGel does not cause cardiovascular injuries—an opinion he is not

qualified to express under Daubert. (Ex. 3, at 343:22-350:17.)

                                  III.   CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court limit Dr.

Carson’s testimony to his area of expertise—urology—and preclude him from offering

any opinions that require expertise in cardiology or drug labeling.


Dated: June 14, 2018                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2018, I electronically transmitted the foregoing

document to the Clerk of the United States District Court using the CM/ECF System for

filing and service to all parties/counsel registered to receive copies in this case.

                                                  /s/ Edward B. Mulligan V
                                                  Edward B. Mulligan V




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